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 6   Hasheminejad, Timothy Hall, and Bobbie King
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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
11
     JASJEET DHILLON, an individual;                       '23CV2335 JES JLB
                                                  Case No. _______
12   KAMAL CREATIONS, INC., a
     California Corporation; JASJEET              7-ELEVEN, INC., KIA
13   DHILLON, INC., a California                  HASHEMINEJAD, TIMOTHY
     Corporation; J AND K                         HALL, AND BOBBIE KING’S
14   CONVENIENCE STORE, INC., a
     California Corporation; JASSI AND            NOTICE OF REMOVAL
15   MIRNA, INC., a California
     Corporation; and K & A
16   CONVENIENCE STORES, INC. , a
     California Corporation;
17
                        Plaintiffs,
18
           vs.
19
     7-ELEVEN, INC., a Texas corporation;
20   KIA HASHEMINEJAD, an individual;
     TIMOTHY HALL, an individual;
21   BOBBIE KING, an individual; and
     DOES 1-10, inclusive,
22
                        Defendants.
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       7-ELEVEN, INC., KIA HASHEMINEJAD, TIMOTHY HALL, AND BOBBIE KING’S NOTICE OF REMOVAL
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 1           PLEASE TAKE NOTICE THAT, in accordance with 28 U.S.C. §§ 1332,
 2   1441, and 1446, and with full reservation of all rights and defenses, Defendants 7-
 3   Eleven, Inc. (“7-Eleven”), Kia Hasheminejad, Timothy Hall, and Bobbie King
 4   remove this action from the Superior Court of the State of California for the County
 5   of San Diego to the United States District Court for the Southern District of
 6   California. As set forth below, the amount in controversy (exclusive of interest and
 7   costs) exceeds $75,000, and complete diversity exists between all Plaintiffs and all
 8   non-fictitious Defendants who were not fraudulently joined.
 9                                    I.    BACKGROUND
10            Plaintiff Jasjeet Dhillon (“Dhillon”) is the owner or co-owner of Plaintiffs
11   Kamal Creations, Inc., Jasjeet Dhillon, Inc., J and K Convenience Store, Inc., Jassi
12   and Mirna, Inc., and K & A Convenience Stores, Inc. (collectively, the “Entity
13   Franchisees”), each of which entered into one or more franchise agreements with 7-
14   Eleven (the “Franchise Agreements”) granting them licenses to operate 7-Eleven®
15   brand convenience stores (the “Stores”), subject to the terms and conditions of those
16   Agreements. Complaint ¶¶ 13-18.1 Each of the Plaintiffs is a citizen of California. Id.
17   ¶¶ 1-6. Defendant 7-Eleven is a citizen of Texas. Id. ¶ 7.
18           On December 7, 2023, representatives of 7-Eleven – Defendants Kia
19   Hasheminejad (“Hasheminejad”) and Timothy Hall (“Hall”) – met with Dhillon at
20   the Courtyard Marriott hotel in El Cajon, California, and advised him that 7-Eleven
21   was prepared to terminate the Franchise Agreements as a result of Dhillon’s unlawful
22   conduct, which materially breached those Agreements. Id. ¶¶ 21-26. They hand-
23   delivered to Dhillon four written Notices of Material Breach (the “Breach Notices”)
24
25   1
       A copy of the Summons and Complaint served on 7-Eleven on December 19, 2023
26   is attached hereto as Exhibit 1. Plaintiffs have not yet served Defendants Kia
     Hasheminejad, Timothy Hall, or Bobbie King. However, the undersigned attorneys
27   have advised Plaintiffs’ counsel that they are representing those Defendants and will
28   accept service on their behalf.

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 1   with respect to each of the Franchise Agreements and Stores. Id. ¶ 26.2 Those Breach
 2   Notices described Dhillon’s unlawful conduct as follows:
 3                  Mr. Dhillon used an electronic tracking device to
                    determine the location and movements of a fellow 7-
 4                  Eleven® franchise owner, without her knowledge or
 5                  consent. Mr. Dhillon then repeatedly followed that
                    franchise owner, threatened to commit violence against
 6                  her, and harassed her (including by sending multiple
 7                  harassing and inappropriate text messages), all of which
                    caused her to reasonably fear for her safety and the
 8
                    safety of her family. As a result of this conduct, a
 9                  criminal action has been filed and restraining orders
                    have been entered[] against Mr. Dhillon.
10
11                  Mr. Dhillon used an electronic recording device to
                    eavesdrop on the confidential communications and/or
12                  private activities of a fellow 7-Eleven® franchise owner,
13                  without her knowledge or consent. Mr. Dhillon then,
                    without the franchise owner’s consent, sent multiple
14                  electronic messages of a harassing nature about the
15                  franchise owner and one or more digital images of the
                    franchise owner[] to third parties for the purpose of
16                  causing the franchise owner unwanted physical contact,
17                  injury, or harassment by such third parties. As a result
                    of this conduct, restraining orders have been entered
18                  against Mr. Dhillon.
19
                    Mr. Dhillon assaulted, battered, and/or sexually
20                  harassed one of his employees in the back room of a 7-
                    Eleven store that he operates. As a result of this
21
                    conduct, a restraining order has been entered against
22                  Mr. Dhillon. In addition, Mr. Dhillon took steps to
23                  conceal evidence of the foregoing conduct by forcibly
                    remov[ing] video equipment containing footage of that
24                  conduct and, in the course of doing so, damaged 7-
25                  Eleven property.

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      Examples of the Breach Notices delivered to Dhillon on December 7, 2023, which
27   are incorporated by reference into the Complaint (see ¶ 26), are attached hereto as
28   Exhibits 2 through 5.

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 1                 [A]fter one of Mr. Dhillon’s employees opposed his
 2                 unlawful behavior, including his assault, battery, and/or
                   sexual harassment towards her, Mr. Dhillon retaliated
 3                 against her, including by directing her manager to
 4                 terminate     her    employment,      and      otherwise
                   discriminating against her
 5
 6   Exhibit 2 at p.2; Exhibit 3 at p.2; Exhibit 4 at p.2; Exhibit 5 at p.2 (emphasis in
 7   originals).
 8         After receiving the Breach Notices and separate Notices of Termination with
 9   respect to each of the Franchise Agreements, Dhillon signed a Termination
10   Agreement with Goodwill Sale Opportunity and a Management Agreement with
11   respect to the seven Franchise Agreements entered into by, and Stores franchised to,
12   Plaintiffs Kamal Creations, Inc., Jasjeet Dhillon, Inc., and J and K Convenience
13   Store, Inc. Complaint ¶ 26. Those Agreements provided that the Franchise
14   Agreements between 7-Eleven and those Entity Franchisees would not immediately
15   terminate, and gave those Franchisees a ninety-day period to sell their respective
16   “goodwill” interests in the Stores while 7-Eleven managed them on the Franchisees’
17   behalf. Id. Dhillon elected not to sign similar agreements regarding the two Franchise
18   Agreements entered into by, and Stores franchised to, Plaintiffs Jassi and Mirna, Inc.
19   and K & A Convenience Stores, Inc. Id. Dhillon then exited the meeting. Id.
20         7-Eleven employee Bobbie King (“King”), who was not present at the meeting
21   with Dhillon, subsequently informed the other, non-party co-owners of Jassi and
22   Mirna, Inc. and K & A Convenience Stores, Inc. that, as a result of Dhillon’s
23   conduct, 7-Eleven had terminated its Franchise Agreements with those Entity
24   Franchisees. Id. ¶ 27.
25         On or about December 15, 2023, Plaintiffs filed an action in the Superior Court
26   of the State of California for the County of San Diego, asserting a variety of claims
27   against 7-Eleven seeking to undo the Termination and Management Agreements
28   Dhillon signed, and avoid the termination of the Franchise Agreements. See

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 1   generally, Complaint. Plaintiffs seek to recover monetary damages from 7-Eleven in
 2   excess of $125,000. See id. ¶¶ 94, 101, 108, 115, 122 and p.32-33.
 3           In a transparent attempt to defeat diversity jurisdiction, the Complaint also
 4   asserts three bogus tort claims against Hasheminejad and King (See id. ¶¶ 124-45),
 5   citizens of California. (Dhillon also asserts the same claims against Hall who, likely
 6   unbeknownst to Plaintiffs, is a citizen of Texas.) As discussed below, it is clear on the
 7   face of the Complaint that Dhillon’s claims against these individuals cannot succeed
 8   and, therefore, their joinder was fraudulent and their citizenship must be disregarded
 9   for purposes of removal jurisdiction.3
10                              II.    FRAUDULENT JOINDER
11           “Under the doctrine of fraudulent joinder, when a ‘plaintiff fails to state a
12   cause of action against a [nondiverse] defendant, and the failure is obvious according
13   to the settled rules of the state,’ the defendant’s citizenship is immaterial to a
14   complete diversity analysis.” Rand v. Midland Nat’l Life Ins., 857 Fed. Appx. 343,
15   345 (9th Cir. 2021) (quoting Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067
16   (9th Cir. 2001)); Pineda v. Abbot Laboratories Inc., 831 Fed. Appx. 238, 240-41 (9th
17   Cir. 2020) (affirming denial of remand motion where plaintiff “did not sufficiently
18   plead” claims against non-diverse defendant).
19           As discussed below, it is clear from the Complaint that Plaintiffs cannot state
20   any viable claim against Hasheminejad or King, the only non-diverse Defendants.
21   Plaintiff Dhillon asserts claims against Hasheminejad for battery and false
22   imprisonment, but the Complaint does not (and cannot) allege that Hasheminejad
23   ever touched Dhillon or restricted his movements in any way. Dhillon also asserts
24
     3
      Plaintiffs also assert various claims against ten fictitious defendants, identified only
25   as “Does 1 through 10,” (see Complaint ¶ 11), but “[t]he citizenship of fictitious
26   defendants is disregarded for removal purposes and becomes relevant only if and
     when the plaintiff seeks leave to substitute a named defendant.” Soliman v. Philip
27   Morris Inc., 311 F.3d 966, 971 (9th Cir. 2002); see 28 U.S.C. § 1441(b)(1) (“the
28   citizenship of defendants sued under fictitious names shall be disregarded”).

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 1   claims against Hasheminejad and King for intentional infliction of emotional distress,
 2   but fails to allege any facts showing that either Defendant intentionally or recklessly
 3   engaged in extreme and outrageous behavior that caused severe emotional distress. 4
 4           A.     Battery
 5           Dhillon asserts a claim for civil battery against Hasheminejad based on Hall’s
 6   (not Hasheminejad’s) alleged “frisking” of Dhillon during the December 7 meeting.
 7   See Complaint ¶¶ 25, 124-132. That claim fails because the Complaint does not, and
 8   cannot, allege that Hasheminejad touched Dhillon or caused him to be touched. See,
 9   e.g., Winters v. Jordan, No. 2:09-cv-00522 JAM KJN PS, 2010 WL 3036725, *8
10   (E.D. Cal. Aug. 2, 2010) (finding plaintiff failed to allege battery because “[n]owhere
11   in the Third Amended Complaint do plaintiffs allege any physical contact between
12   [defendant] or any of the plaintiffs”); So v. Shin, 212 Cal. App. 4th 652, 669 (Cal. Ct.
13   App. 2013) ( “essential element” of battery claim is that “defendant touched plaintiff,
14   or caused plaintiff to be touched, with the intent to harm or offend plaintiff”). The
15   Complaint also fails to allege facts showing that Hasheminejad intended to harm or
16   offend Dhillon.
17           B.     False Imprisonment
18           Dhillon also asserts a claim against Hasheminejad for false imprisonment
19   during the December 7 meeting. See Complaint ¶¶ 133-40. This claim fails because it
20   does not allege any actions by Hasheminejad that “compelled” Dhillon to come to or
21   remain at the hotel, or that otherwise confined him or restricted his movement in any
22   way. Indeed, the Complaint alleges that Dhillon “exited the meeting” of his own
23   accord. Id. ¶ 26; see Novak v. Merced Police Dept., No. 1:13-CV-1402 AWI BAM,
24   2014 WL 730725, *13 (E.D. Cal. Feb. 24, 2014) (dismissing false imprisonment
25   claim because such claim requires a “nonconsensual, intentional confinement” and
26
27   4
      Although not relevant to the fraudulent joinder analysis, the claims asserted against
28   Hall are also false.

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 1   “[t]here are no allegations that [defendants] even touched [plaintiff], much less
 2   restricted her movements in any way”).
 3         C.     Intentional Infliction of Emotional Distress
 4         Finally, Dhillon asserts claims of intentional infliction of emotional distress
 5   (“IIEE”) against Hasheminejad and King. See Complaint ¶¶ 141-145. For such claims
 6   to succeed, Dhillon must plead and prove facts showing “extreme and outrageous
 7   conduct by the defendant with the intention of causing, or reckless disregard of the
 8   possibility of causing, emotional distress.” Hughes v. Pair, 46 Cal. 4th 1035, 1050
 9   (Cal. 2009) (quotations omitted). He must also plead and prove facts showing that
10   such conduct caused him “‘emotional distress of such substantial quality or enduring
11   quality that no reasonable [person] in civilized society should be expected to endure
12   it.’” Chose v. Accor Hotels & Resorts (Maryland) LLC, No. 19-cv-06174-HSG, 2020
13   WL 759365, at *5 (N.D. Cal. Feb. 14, 2020) (quoting Potter v. Firestone Tire &
14   Rubber Co., 6 Cal. 4th 965, 1004 (Cal. 1993)).
15         The allegations in the Complaint fall well short of those requirements. They
16   fail to allege any conduct that can legitimately be characterized as “extreme and
17   outrageous” or “exceed[ing] all bounds of that usually tolerated in a civilized
18   community.” Hughes, 46 Cal. 4th at 1050; Novak, 2014 WL 730725, at *12
19   (“Because the conduct pled is not sufficiently extreme and outrageous, dismissal of
20   this claim is appropriate.”). The Complaint also fails to allege any facts indicating
21   that any Defendant acted with the requisite intent, or that Dhillon suffered severe
22   emotional distress. Rather, it merely recites those elements in a conclusory fashion.
23   See Complaint ¶¶ 143-45; Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 547 (2007)
24   (“a plaintiff's obligation to provide the grounds of his entitlement to relief requires
25   more than just labels and conclusions, and a formulaic recitation of a cause of action's
26   elements will not do.”); Chose, 2020 WL 759365, at *5 (dismissing IIED claim
27   because “Plaintiff offers little more than conclusory allegations”); Galindo v. City of
28

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 1   San Mateo, No. 16-cv-03651-EMC, 2016 WL 7116927, *8-9 (N.D. Cal. Dec. 7,
 2   2016) (same).
 3         In light of the above, it is clear that Plaintiffs have not stated, and cannot state,
 4   any claim against Hasheminejad or King. Therefore, those Defendants were
 5   fraudulently joined and their citizenship is immaterial to diversity jurisdiction. See
 6   Pineda, 831 Fed. Appx. at 241 (affirming denial of remand motion where plaintiff
 7   “did not allege facts sufficient to plead the outrageous conduct required for a claim of
 8   IIED”).
 9                                   III.     CONCLUSION
10         For the foregoing reasons, Defendants 7-Eleven, Hasheminejad, Hall, and King
11   remove this action from the Superior Court of the State of California for the County
12   of San Diego.
13   Dated: December 26, 2023               ARNOLD & PORTER KAYE SCHOLER LLP
14
                                            By: /s/ James F. Speyer
15                                            JAMES F. SPEYER
16                                            Attorneys for Defendants 7-Eleven, Inc, Kia
                                              Hasheminejad, Timothy Hall, and Bobbie
17                                            King.
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on this 26th day of December, 2023, I caused true and
 3   correct copies of the foregoing Notice of Removal and all exhibits thereto to be
 4   served on the following counsel for plaintiffs electronically and via first-class U.S.
 5   mail, postage prepaid.
 6
     Christopher L. Peterson
 7   Peterson Law, LLP
     1620 Fifth Ave., Suite 530
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     San Diego, CA 92101
 9   cpeterson@petersonlawllp.com
10
11                                      By: /s/ James F. Speyer
                                          JAMES F. SPEYER
12                                        Counsel for Defendants 7-Eleven, Inc, Kia
13                                        Hasheminejad, Timothy Hall, and Bobbie
                                          King.
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                                     CERTIFICATE OF SERVICE
